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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                           EASTERN DIVISION

LAW SOLUTIONS CHICAGO,                    )
LLC; UPRIGHT LAW, LLC;                    )
KEVIN W. CHERN; and JASON                 )
ROYCE ALLEN,                              )
                                          )
              Defendants–Appellants,      )
                                          )
       v.                                 )     CASE NO. 3:18-CV-934-WKW
                                          )               [WO]
SABRINA L. McKINNEY, as                   )
Standing Chapter 13 Trustee; and          )
CARLY B. WILKINS, as Chapter              )
7 Trustee of the Estates of Ricky         )
Jackson, Tony Lee Mason, Joseph           )
A. White, Stacy Ross, and Jeremy          )
Wallace,                                  )
                                          )
              Plaintiffs–Appellees.       )

                                      ORDER

      Alleging various forms of attorney misconduct, Plaintiffs filed an adversarial

complaint against Defendants in bankruptcy court. The Bankruptcy Court denied

Defendants’ motions to dismiss, and it consolidated Plaintiffs’ action with a similar

action filed by the Bankruptcy Administrator. (Doc. # 1-3.) Defendants seek leave

to file an interlocutory appeal pursuant to 28 U.S.C. § 158(a)(3). (Doc. # 1.)

      For the same reasons leave to appeal was denied in Law Solutions Chicago,

LLC v. Jacobs, No. 18-cv-763, Doc. # 8 (M.D. Ala. Feb. 25, 2019), leave to appeal

is due to be denied in this case. Even if the issues presented on appeal are pure


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questions of law (they are not), they do not control a substantial portion of the case.

Nor would resolving them substantially reduce the amount of litigation below. See

Mamani v. Berzain, 825 F.3d 1304, 1312–13 (11th Cir. 2016); McFarlin v. Conseco

Servs., LLC, 381 F.3d 1251, 1264 (11th Cir. 2004); Barbella v. Pergament, No. 16-

mc-1221, 2018 WL 317778, at *3–4 (E.D.N.Y. Jan. 8, 2018). Interlocutory appeals

are also “inherently disruptive, time-consuming, and expensive,” Prado-Steiman ex

rel. Prado v. Bush, 221 F.3d 1266, 1276 (11th Cir. 2000) (cleaned up), and a court

may deny leave to file one “for any reason, including docket congestion.” Coopers

& Lybrand v. Livesay, 437 U.S. 463, 475 (1978); see Nice v. L-3 Commc’ns Vertex

Aerospace LLC, 885 F.3d 1308, 1313 n.8 (11th Cir. 2018). The court has a crowded

docket, so it denies leave to appeal.

      For these reasons, it is ORDERED that:

      1.       Defendants’ Motion for Leave to Appeal (Doc. # 1-1) is DENIED; and

      2.       The Clerk of the Court is DIRECTED to close this case.

      DONE this 25th day of February, 2019.
                                                    /s/ W. Keith Watkins
                                              UNITED STATES DISTRICT JUDGE




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